Case 3:02-cr-00035-GMG-DJJ Document 585 Filed 06/03/05 Page 1 of 17 PageID #: 2051




                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF WEST VIRGINIA



   JONATHAN M. CRAWFORD,
                   Petitioner,

          v.                                                             Civil action no. 3:04CV23
                                                                         Criminal action no. 3:02CR35


   UNITED STATES OF AMERICA,
                    Respondent.



              MEMORANDUM OPINION AND REPORT AND RECOMMENDATION


                                    I. PROCEDURAL HISTORY

          On March 22, 2004, the pro se petitioner, an inmate at FCI-Beckley, filed a Motion Under

   28 U.S.C. § 2255 to Vacate, Set Aside or Correct Sentence by a Person in Federal Custody.

          By Order entered on April 9, 2004, the respondent was ordered to answer the motion. On

   May 10, 2004, the respondent filed Motion of the United States to Dismiss and Response to

   Petitioner’s Motion Made Pursuant to 28 U.S.C. § 2255. On June 30, 2004, the Court issued a

   Roseboro1 notice advising the petitioner of his right to file a response to the respondent’s motion to

   dismiss. On August 18, 2004, the petitioner asked for an extension of time to respond which was

   granted by order entered on August 24, 2004. The petitioner never filed a response.

          Also, on August 18, 2004, the petitioner filed a motion to file an amended brief so he could

   raise a claim under Blakely v. Washington, 124 S. Ct. 2531 (2004). In the alternative, he requested

   that his motion be deemed an amended brief.



          1
           Roseboro v. Garrison, 528 F. 2d 309, 310 (4th Cir. 1975).
Case 3:02-cr-00035-GMG-DJJ Document 585 Filed 06/03/05 Page 2 of 17 PageID #: 2052




           This matter, which is pending before me for initial review and report and recommendation

   pursuant to the April 6, 2004 Order of Referral issued by the Honorable W. Craig Broadwater,

   United States District Judge, is ripe for review.

   A. Conviction and Sentence

           On July 9, 2002, a grand jury for the Northern District of West Virginia indicted the

   petitioner of conspiracy to possess with the intent to distribute cocaine base in violation of 21 U.S.C.

   § 846 (Count 1) and distribution of cocaine base in violation of 21 U.S.C. § 841 (Count 28).

           On December 2, 2002, the petitioner signed a plea agreement in which he agreed to plead

   guilty to distribution of cocaine base in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C)(Count

   28). The parties stipulated to relevant conduct of at least 50 grams but less than 150 grams of

   cocaine base also known as “crack.” In the plea agreement, the petitioner agreed to waive his right

   to appeal or collaterally attack his sentence. He also waived “any right he may have to ask the court

   for any departures under USSG §§ 5H1.1 through 5H1.12, 5K1.1 or 5K2.0 through 5K2.21.” On

   December 2, 2002, the petitioner appeared in Court and entered a guilty plea to Count 28.

           On March 19, 2003, the petitioner appeared before the Court for sentencing. The Court found

   a total offense level of 29, a criminal history category of III and a guideline range of 108-135

   months. The Court sentenced the petitioner to 108 months. He did not appeal his conviction and

   sentence.2



           2
             The petitioner states he did not file a direct appeal on advice of counsel that a motion for
   downward departure would be filed on his behalf, and he believed the only issue for appeal was that he
   qualified for a downward departure. The Government indicates that the petitioner raised a separate claim
   of failure to file a direct appeal. It is not clear whether the petitioner is attempting to raise a claim of
   failure to appeal. Even if he is, the claim is not sufficiently pled. As noted by the Government, the
   petitioner “never states either that his counsel promised him that he would file an appeal or that petitioner
   ever directed his counsel to file an appeal.”

                                                         2
Case 3:02-cr-00035-GMG-DJJ Document 585 Filed 06/03/05 Page 3 of 17 PageID #: 2053




   B. Federal Habeas Corpus

          Petitioner’s Contentions

          The petitioner asserts that his attorney was ineffective because he negotiated an

   “unconscionable agreement” as defined by the Uniform Commercial Code [“UCC”] and failed to

   file a timely motion pursuant to U.S.S.G. § 5C1.2 and 18 U.S.C. § 3553(f)(1)-(5). He also asserts

   his attorney was ineffective regarding his failure to receive a reduction for providing substantial

   assistance to the Government.

          The petitioner further asserts that an injustice occurred when Judge Broadwater presided over

   the plea hearing, but Judge Stamp sentenced him.

          Respondent’s Contentions

          The respondent asserts that the motion should be dismissed because the petitioner’s plea

   agreement contained a waiver of the right to collaterally attack his sentence. The respondent further

   asserts that the UCC does not apply to plea agreements, that the plea agreement was not

   unconscionable and that the petitioner was not provided ineffective assistance of counsel.

   C. Recommendation

          Upon reviewing the record, I recommend that the petitioner’s § 2255 motion be denied

   because his claims are without merit.

                                            II. ANALYSIS

   A. Waiver

          The Fourth Circuit has held that waiver of appellate rights in a plea agreement is valid as


                                                    3
Case 3:02-cr-00035-GMG-DJJ Document 585 Filed 06/03/05 Page 4 of 17 PageID #: 2054




   long as it is knowing and voluntary. United States v. Attar, 38 F.3d 727 (4th Cir. 1994), cert. denied,

   514 U.S. 1107 (1995). In United States v. Lemaster, 403 F.3d 216, 220 (4th Cir. 2005), the Fourth

   Circuit held that it saw no reason to distinguish between waivers of direct-appeal rights and waivers

   of collateral-attack rights. Thus, the Fourth Circuit held that the waiver of the right to collaterally

   attack a sentence is valid as long as it is knowing and voluntary. Id.   The Fourth Circuit also noted

   that it has allowed a “narrow class of claims” to be raised by a defendant on direct appeal despite

   a general waiver of appellate rights and referenced United States v. Marin, 961 F.2d 493, (4th

   Cir.1992) (“a defendant could not be said to have waived his right to appellate review of a sentence

   imposed in excess of the maximum penalty provided by statute or based on a constitutionally

   impermissible factor such as race.”); United States v. Attar, 38 F.3d 727, 732 (4th Cir.1994)

   (“holding that a general waiver of appellate rights could not be construed to bar a defendant from

   raising a claim that he had been wholly deprived of counsel during his sentencing proceedings”).

   Id. at 220, n. 2. However, because Lemaster did not argue that his claims fell within one of these

   exceptions, the Fourth Circuit did not address whether a court should address similar claims in a §

   2255 motion despite a waiver of the right to file a collateral attack. Nonetheless, the Fourth Circuit

   reiterated that it saw no reason to treat waivers of collateral attack rights different than waivers of

   direct appeal rights. Id.

           In the instant case, the petitioner is raising claims of ineffective assistance of counsel during

   the plea process and sentencing process. In Braxton v. United States, 358 F. Supp. 2d 497, (W.D.

   Va. 2005), the Western District of Virginia held that “§ 2255 motions claiming ineffective assistance

   of counsel that do not relate directly to the validity of the plea or the § 2255 waiver itself are

   waiverable.” Id. at 503. However, based on footnote 2 in Lemaster, the undersigned finds that the


                                                      4
Case 3:02-cr-00035-GMG-DJJ Document 585 Filed 06/03/05 Page 5 of 17 PageID #: 2055




   waiver of the right to collaterally attack does not bar the petitioner’ claim that his attorney was

   ineffective regarding sentencing. With regard to the petitioner’ allegation that his attorney was

   ineffective during the plea negotiation process, “a § 2255 waiver should not bar ineffective

   assistance of counsel claims or claims that a guilty plea was involuntary, just as direct appeal

   waivers do not bar those claims.” Butler v. United States, 173 F. Supp.2d 489, 494 (E.D. Va.2001).

   Thus, the undersigned finds that the petitioner’s claims are not barred by the waiver and that the

   respondent’s motion to dismiss should be denied.

   B. Ineffective Assistance of Counsel

          According to the petitioner, his attorney was ineffective for negotiating an unconscionable

   plea agreement, for failing to file a motion for a safety valve reduction under U.S.S.G. § 5C1.2 and

   for failing to file a motion for reduction for providing substantial assistance to the Government which

   allowed it to prosecute other individuals.

          With regard to claims of ineffective assistance of counsel, counsel’s conduct is measured

   under the two part analysis outlined in Strickland v. Washington, 466 U.S. 668, 687 (1984). First,

   the petitioner must show that his counsel’s performance fell below an objective standard of

   reasonableness. Id. at 688. In reviewing claims of ineffective assistance of counsel, “judicial scrutiny

   of counsel’s performance must be highly deferential,” and the court “must judge the reasonableness

   of counsel’s challenged conduct on the facts of the particular case, viewed as of the time of counsel’s

   conduct.” Id. at 689-90.

           Second, the petitioner must be prejudiced by counsel’s performance. In order to demonstrate

   prejudice, “the defendant must show there is a reasonable probability that, but for counsel’s

   unprofessional errors, the result of the proceeding would have been different. A reasonable


                                                      5
Case 3:02-cr-00035-GMG-DJJ Document 585 Filed 06/03/05 Page 6 of 17 PageID #: 2056




   probability is a probability sufficient to undermine confidence in the outcome.” Id. at 694. If the

   defendant shows no prejudice from the alleged ineffectiveness of counsel, courts need not address

   counsel’s performance. Fields v. Att’y Gen. of Maryland, 956 F.2d 1290, 1297 (4th Cir.), cert.

   denied, 506 U.S. 885 (1992).

           A defendant who alleges ineffective assistance of counsel following a guilty plea has an even

   higher burden regarding the prejudice prong: he “must show that there is a reasonable probability

   that, but for counsel’s errors, he would not have pleaded guilty and would have insisted on going to

   trial.” Hill v. Lockhart, 474 U.S. 52, 59 (1985); Hooper v. Garraghty, 845 F.2d 471, 475 (4th Cir.

   1988), cert. denied, 488 U.S. 843 (1988). While “[i]neffective assistance claims in the guilty plea

   context are usually evaluated under standards announced in Hill v. Lockhart, 474 U.S. 52 (1984),”

   a petitioner’s challenge to his counsel’s actions which are not in relation to the entry of his guilty

   plea, are subject to a Strickland analysis. United States v. Hanger, 991 F.2d 791 (4th Cir. 1993)

   (Table); United States v. Whisonant, 229 F. 3d 1145 (4th Cir. 2000) ; Royal v. Taylor, 188 F. 3d 239

   (4th Cir. 1999).

          The petitioner has not asserted that he would not have pleaded guilty and would have insisted

   on going to trial. Thus, he has failed to satisfy the prejudice prong as set forth in Hill. Even if the

   claim was to be evaluated under the Strickland standard regarding ineffective assistance of counsel,

   he has failed to meet such standard regarding his plea agreement.



          1. Applicability of the Uniform Commercial Code to Plea Agreements

          The petitioner relies on the UCC to support his contention that his attorney was ineffective

   for negotiating an unconscionable plea agreement was unconscionable. According to the petitioner,


                                                     6
Case 3:02-cr-00035-GMG-DJJ Document 585 Filed 06/03/05 Page 7 of 17 PageID #: 2057




   the plea agreement was unconscionable because the agreement contained unfair terms. He further

   states that he was denied due process because the legality of the plea agreement was not reviewed

   under the provisions of the UCC.

          “Plea agreements involve a quid pro quo between a criminal defendant and the government.

   In exchange for some perceived benefit, defendants waive several of their constitutional rights

   (including the right to a trial) and grant the government numerous ‘tangible benefits, such as

   promptly imposed punishment without the expenditure of prosecutorial resources.’” I.N.S. v. St. Cyr,

   533 U.S. 289, 321-322 (2001).

          Plea agreements are construed in accordance with principles of contract law so that each

   party receives the benefit of its bargain. United States v. Holbrook, 368 F.3d 415, 420 (4th Cir.2004).

   In United State v. Harvey, 791 F.2d 294, 300 -301 (4th Cir. 1986), the Fourth Circuit elaborated on

   the use of contract law with regard to plea agreements:

             In the process of determining whether disputed plea agreements have been formed
          or performed, courts have necessarily drawn on the most relevant body of developed
          rules and principles of private law, those pertaining to the formation and interpretation
          of commercial contracts. But the courts have recognized that those rules have to be
          applied to plea agreements with two things in mind which may require their tempering
          in particular cases. First, the defendant’s underlying “contract” right is
          constitutionally based and therefore reflects concerns that differ fundamentally from
          and run wider than those of commercial contract law. Second, with respect to federal
          prosecutions, the courts’ concerns run even wider than protection of the defendant’s
          individual constitutional rights--to concerns for the “honor of the government, public
          confidence in the fair administration of justice, and the effective administration of
          justice in a federal scheme of government.”That the resulting interpretive doctrine is
          an amalgam of constitutional, supervisory, and private law concerns does not mean,
          however, that it is without form. Some ordering principles and guidelines have clearly
          emerged. Those relevant to this appeal bear emphasis here.
              Private law interpretive principles may be wholly dispositive in an appropriate
          case. For example, whether a written agreement is ambiguous or unambiguous on its
          face should ordinarily be decided by the courts as a matter of law. If it is unambiguous
          as a matter of law, and there is no suggestion of government overreaching of any kind,
          the agreement should be interpreted and enforced accordingly. Neither side should be

                                                     7
Case 3:02-cr-00035-GMG-DJJ Document 585 Filed 06/03/05 Page 8 of 17 PageID #: 2058




          able, any more than would be private contracting parties, unilaterally to renege or
          seek modification simply because of uninduced mistake or change of mind. Such an
          approach is conformable not only to the policies reflected in private contract law from
          which it is directly borrowed, but also to constitutional concerns of fundamental
          fairness in “bargaining” for guilty pleas, and to the wider concerns expressed in the
          exercise of supervisory jurisdiction over the administration of federal criminal justice.
              On the other hand, both constitutional and supervisory concerns require holding
          the Government to a greater degree of responsibility than the defendant (or possibly
          than would be either of the parties to commercial contracts) for imprecisions or
          ambiguities in plea agreements. This is particularly appropriate where, as will usually
          be the case, the Government has proffered the terms or prepared a written agreement--
          for the same reasons that dictate that approach in interpreting private contracts.
             As a necessary corollary, derelictions on the part of defense counsel that contribute
          to ambiguities and imprecisions in plea agreements may not be allowed to relieve the
          Government of its primary responsibility for insuring precision in the agreement.
          While private contracting parties would ordinarily be equally chargeable--so far as
          enforceability and interpretation are concerned--with their respective counsels'
          derelictions in negotiating commercial contracts, different concerns apply to
          bargained plea agreements. Unlike the private contract situation, the validity of a
          bargained guilty plea depends finally upon the voluntariness and intelligence with
          which the defendant--and not his counsel--enters the guilty plea.
   Id. at 300-301(internal citations omitted).

          “The formation of binding plea agreements is governed not by the Uniform Commercial Code

   but by the Federal Rules of Criminal Procedure, which requires, among other things, that the court

   approve the plea agreement and find it to have a factual basis.” United States v. Partida-Parra, 859

   F.2d 629, 634 (9th Cir. 1988).

          Here, the petitioner’s argument addresses the formation and voluntariness of his plea

   agreement which is not governed by the UCC. It appears to the undersigned that the petitioner is

   attempting to avoid the Court’s finding that he plea was voluntary by asserting his plea is

   unconscionable under the UCC. However, even if the UCC applied the plea agreement is not

   unconscionable.

          In Hume v. United States, 132 U.S. 406, 411 (1889), the Supreme Court defined


                                                     8
Case 3:02-cr-00035-GMG-DJJ Document 585 Filed 06/03/05 Page 9 of 17 PageID #: 2059




   unconscionabililty which requires court intervention as follows:

           It may be apparent from the intrinsic nature and subject of the bargain itself; such as
           no man in his senses and not under delusion would make on the one hand, and as no
           honest and fair man would accept on the other; which are unequitable and
           unconscientious bargains.
           Here, there is nothing which reveals the contract was unconscionable. First, the petitioner

   asserts that his counsel knew or should have known based on a document titled “United States’

   Version of Offense for the Above-Named defendants” that the Government “had no compelling

   evidence that the petitioner was a member of a drug distribution conspiracy.” Thus, he asserts that

   the plea agreement was unfair to him because the Government gave up nothing as it did not have a

   conspiracy case against him.

           “A tacit or mutual understanding between or among the alleged conspirators is sufficient to

   show a conspiratorial agreement.” United States v. Chorman, 910 F.2d 102, 109 (4th Cir. 1990). “A

   conspiracy may be proved wholly by circumstantial evidence. Circumstantial evidence tending to

   prove a conspiracy may consist of a defendant’s “relationship with other members of the conspiracy,

   the length of this association, [the defendant’s] attitude [and] conduct, and the nature of the conspiracy.”

   United States v. Burgos, 94 F.3d 849, 858 (4th Cir. 1996), cert. denied, 519 U.S. 1157 (1997)

   (citation omitted). Once a conspiracy is established, all that is required is a “slight connection

   between the defendant and the conspiracy to support the conviction.” United States v. Brooks, 957

   F. 2d 1138, 1147 (4th Cir.), cert. denied, 505 U.S. 1228 (1992).

           The Government asserts that there have been several drug conspiracy convictions “involving

   organization similar to that which existed in and around Centre Street” and other individuals involved

   in the conspiracy had entered a plea. There is nothing before the Court which indicates the

   Government did not have a conspiracy case against the petitioner.

                                                        9
Case 3:02-cr-00035-GMG-DJJ Document 585 Filed 06/03/05 Page 10 of 17 PageID #: 2060




          The petitioner further asserts that while the Government agreed to a sentence reduction

   pursuant to U.S.S.G. § 3E1.1 such reduction was governed by the Sentencing Guidelines, and thus,

   the Government promised something already provided to him under the law.

          In order to obtain a reduction for acceptance of responsibility under U.S.S.G. § 3E1.1, “the

   defendant must prove by a preponderance of the evidence that he clearly demonstrated recognition

   and affirmative acceptance of personal responsibility for his criminal conduct.” United States v.

   Martinez, 901 F. 2d 374, 377 (4th Cir. 1990). A guilty plea does not automatically entitle the

   defendant to a reduction for acceptance of responsibility. United States v. Harris, 882 F. 2d 902 (4th

   Cir. 1989). Pursuant to the plea agreement, the Government agreed to make a recommendation that

   the petitioner receive a reduction. The Government obligated itself to make the recommendation

   when it need not do so. While the petitioner asserts that such recommendation had no impact

   whatsoever on the Court, he has not supported his assertion with any facts.

          The petitioner further asserts that the agreement was unconscionable because it did not require

   that he be sentenced at the low end of the guideline range, and that had the plea agreement required

   that he be sentenced at the lower end of the guideline range, the Court would have been required to

   sentence him at the lower end. However, no such recommendation would be binding on the Court.

            “Plea bargains impose obligations on the prosecution, not the courts.” United States v.

   Gordon, 61 F.3d 263, 267 (4th Cir. 1995). Thus, the petitioner’s attorney could not have required

   that the petitioner be sentenced at the low end of the guidelines. Moreover, the petitioner’s argument

   is without merit because he was in fact sentenced at the low end of the guidelines. The guideline

   range was 108-135 months, and he was sentenced to 108 months.

          Additionally, the petitioner asserts that the plea agreement was unconscionable because he

                                                    10
Case 3:02-cr-00035-GMG-DJJ Document 585 Filed 06/03/05 Page 11 of 17 PageID #: 2061




   was required to agree to relevant conduct of 50-150 grams of cocaine base, but the information given

   to the Government regarding his drug activity was untrustworthy. He asserts that his relevant

   conduct included drugs amounts for which Vernell Newell, Cheryl Welch and Kirk Grantham

   indicated he was responsible. However, he states he was incarcerated from January 10, 1998, to

   September 16, 1998, and could not have sold drugs to Vernell Newell in the summer of 1998. He

   also states that the Government attributed to him amounts of cocaine base that Grantham saw Lane

   possess not Crawford.

          However, the petitioner received the benefit of his plea because the stipulated amount was

   below the amount the Government’s evidence revealed he was responsible.

          Thus, the undersigned finds that the plea agreement was not unconscionable and that the

   petitioner’s attorney was not ineffective in negotiating the plea agreement for the petitioner.

          2. Substantial Assistance

          The petitioner asserts that his attorney negotiated away his right seek a departure under

   U.S.S.G. § 5K1.1 for providing substantial assistance and that his attorney promised him he would

   be eligible for a sentence reduction despite his waiver. According to the petitioner, his attorney

   advised him that a motion for reduction of sentence would be filed on his behalf and that he had a

   good chance of receiving a sentence reduction. However, his attorney failed to advise him that under

   the terms of the plea agreement the Court was precluded from accepting a motion for reduction of

   sentence and a motion for sentence reduction based on substantial assistance. He further asserts he

   is entitled to a reduction for providing substantial assistance.

          According to the Fourth Circuit, the Government has the discretion to determine whether to



                                                     11
Case 3:02-cr-00035-GMG-DJJ Document 585 Filed 06/03/05 Page 12 of 17 PageID #: 2062




   make a motion for a reduction in a defendant’s sentence for rendering substantial assistance. See

   United States v. Dixon, 998 F.2d 228, 230 (4th Cir. 1993). However, the Government may not

   withhold such motion that it is obligated to make by the terms of the plea agreement. See United

   States v. Wallace, 22 F.3d 84, 87 (4th Cir.), cert. denied, 513 U.S. 910 (1994). Further, the

   Government may not withhold a motion for substantial assistance for an unconstitutional reason, such

   as race or religion, or for a reason “not rationally related to a legitimate Government end.” Wade v.

   United States, 504 U.S. 181, 185-86 (1992). The defendant has the burden of establishing that the

   Government’s refusal to make a substantial assistance motion violates one of the two limitations on

   its discretion or breaches the plea agreement. See Id.; Dixon, 998 F.2d at 230.

           While the petitioner did give signed and sworn statements and grand jury and trial testimony,

   the Government asserts that “at best, petitioner lived up to the terms and conditions of the plea

   agreement.” The Government did not file a motion for substantial assistance because “it would appear

   that the United States Attorney disagreed with petitioner’s view of the value of his cooperation.” The

   Government has the discretion to make a motion for substantial assistance. Thus, he was not

   prejudiced by the fact that his plea agreement contained a wavier of the § 5k1.1 motion. Moreover,

   at the plea hearing, the petitioner never alleged that he was promised a substantial assistance motion.

   Additionally, at sentencing, the petitioner never alleged that he was promised a reduction for

   substantial assistance. Furthermore, on February 10, 2003, the petitioner’s attorney did file a motion

   for departure albeit for reasons other than substantial assistance. The plaintiff has failed to show that

   he was prejudiced by the waiver in his plea agreement regarding a 5K1.1 downward departure. Thus,

   this claim of ineffective assistance of counsel is without merit.




                                                      12
Case 3:02-cr-00035-GMG-DJJ Document 585 Filed 06/03/05 Page 13 of 17 PageID #: 2063




          3. Safety Valve

          Additionally, the petitioner’s allegation that his attorney was ineffective for failing to file a

   motion for a safety valve reduction under U.S.S.G. § 5C1.1 is without merit. On August 20, 2003,

   the petitioner’s attorney filed a “Motion for Departure from Present Sentencing Guideline Level

   Pursuant to U.S.S.G. Section 5C1.2 and Title 18 U.S.C. Section 3553(f).” The petitioner’s attorney

   was not ineffective for failing to file the motion earlier because the petitioner did not meet the

   requirements for a safety valve reduction. U.S.S.G. § 5C1.1 provides as follows:

          a) Except as provided in subsection (b), in the case of an offense under 21 U.S.C. §
          841, § 844, § 846, § 960, or § 963, the court shall impose a sentence in accordance
          with the applicable guidelines without regard to any statutory minimum sentence,
          if the court finds that the defendant meets the criteria in 18 U.S.C. § 3553(f)(1)-(5)
          set forth below:

          (1) The defendant does not have more than 1 criminal history point, as determined
          under the sentencing guidelines before application of subsection (b) of 4A1.3
          (Departures Based on Inadequacy of Criminal History Category);

          (2) The defendant did not use violence or credible threats of violence or possess a
          firearm or other dangerous weapon (or induce another participant to do so) in
          connection with the offense;

          (3) The offense did not result in death or serious bodily injury to any person;

          (4) The defendant was not an organizer, leader, manager, or supervisor of others in
          the offense, as determined under the sentencing guidelines and was not engaged in
          a continuing criminal enterprise, as defined in 21 U.S.C. § 848; and

          (5) Not later than the time of the sentencing hearing, the defendant has truthfully
          provided to the Government all information and evidence the defendant has
          concerning the offense or offenses that were part of the same course of conduct or
          of a common scheme or plan, but the fact that the defendant has no relevant or
          useful other information to provide or that the Government is already aware of the
          information shall not preclude a determination by the court that the defendant has
          complied with this requirement.


          If the defendant meets the criteria set forth above his sentence can be decreased by 2 levels.

                                                     13
Case 3:02-cr-00035-GMG-DJJ Document 585 Filed 06/03/05 Page 14 of 17 PageID #: 2064




   See U.S.S.G. 2D1.1(b).

          Here, as previously found by the Honorable W. Craig Broadwater in ruling on the petitioner’s

   August 20, 2003 motion for departure, the petitioner does not meet the requirements for obtaining

   a safety valve reduction because he had 5 criminal history points and the statutes to which he pled

   guilty make no provision for a minimum base offense level. (See May 12, 2004 Order). Therefore,

   because the petitioner did not qualify for a safety valve reduction, his attorney was not ineffective

   for failing to file a motion for a safety valve reduction prior to sentencing.

   C. Different Judges Presiding Over Different States of the Case

          The petitioner asserts that “an injustice occurred where the Honorable Judge Broadwater

   accepted the plea of guilty but was not present to sentence Crawford.” The petitioner argues that “it

   is doubtful that the Honorable Judge Broadwater, being familiar with the substantial assistasnce

   Crawford provided and the rights Crawford waived would have sentenced him to the top of the

   guideline imprisonment range.” Here, the plea agreement was part of the Court’s record. Thus, the

   Honorable Judge Stamp would have been familiar with the rights the petitioner waived. Further, the

   petitioner does not state what substantial assistance he provided and how Judge Broadwater would

   have been aware of it but Judge Stamp would not have been. Therefore, this claim is without merit.

   D. Evidentiary Hearing

          28 U.S.C. § 2255 provides in pertinent part as follows:

          [u]nless the motion and the files and records of the case conclusively show that the
          prisoner is entitled to no relief, the court shall cause notice thereof to be served upon
          the United States attorney, grant a prompt hearing thereon, determine the issues and
          make findings of fact and conclusions of law with respect thereto.


   See also United States v. Witherspoon, 231 F.3d 923 (4th Cir. 2000).


                                                     14
Case 3:02-cr-00035-GMG-DJJ Document 585 Filed 06/03/05 Page 15 of 17 PageID #: 2065




           The petitioner’s motion and the Government’s response conclusively establish that the

   petitioner is entitled to no relief. Thus, he is not entitled to an evidentiary hearing.



                                       III. MOTION TO AMEND

           On August 18, 2004, the petitioner filed a motion to amend so that he could raise a Blakely

   claim. The undersigned recommends that the motion to amend be denied because it would be futile.

           Blakely v. Washington, 124 S. Ct. 2531 (2004) as an extension of Apprendi v. New Jersey,

   530 U.S. 466 (2000), holds that “when a judge inflicts punishment that the jury verdict alone does

   not allow, the jury has not found all the facts which the law makes essential to the punishment, and

   the judge exceeds his proper authority.” Blakely, 124 S. Ct. at 2537 (citations omitted).

           Recently, the Supreme Court has held that Blakely applies to federal sentencing guidelines.

   United States v. Booker, 125 S. Ct. 738 (2005). Specifically, in Booker the Supreme Court issued

   a two part decision. In the first part, the Supreme Court held that the mandatory sentencing guidelines

   violated a defendant’s Sixth Amendment right to a jury trial because a judge, not a jury, determines

   facts which could increase the defendant’s sentence beyond the sentence which could be imposed

   based on jury fact finding. In the second part of the decision, the Supreme Court severed the

   unconstitutional provisions from the Sentence Reform Act and made the guidelines advisory and

   established an unreasonableness standard of review for sentences on appeal. While the Supreme

   Court determined that both of its holdings in Booker applied to all cases on direct review, the

   Supreme Court did not address whether Booker applies retroactively to cases on collateral review.

           While the Fourth Circuit Court of Appeals has not ruled on the retroactivity of Booker, other

   circuits have held that Booker does not apply retroactively. See Varela v. United States, 400 F. 3d


                                                      15
Case 3:02-cr-00035-GMG-DJJ Document 585 Filed 06/03/05 Page 16 of 17 PageID #: 2066




   864 (11th Cir. 2005); United States v. Price, 2005 WL 535361 (10th Cir. 2005); McReynolds v.

   United States, 397 F. 3d 479 (7th Cir. 2005); Humphress v. United States, 398 F. 3d 855 (6th Cir.

   2005); Lloyd v. United States, 2005 WL 1155220 (3d Cir. 2005); Guzman v. United States, 404 F.

   3d 139 (2d Cir. 2005). Thus, in accordance with these decisions, the undersigned recommends that

   the petitioner’s motion to amend be denied because Blakely and Booker do not applied retroactively

   to collateral review.



                                     IV. RECOMMENDATION

          The undersigned recommends that the Court enter an Order DENYING the respondent’s

   motion to dismiss because the motion is not barred by the waiver; DENYING the petitioner’s § 2255

   motion because his claims of an unconscionable plea agreement and ineffective assistance of counsel

   are without merit; and DENYING the petitioner’s motion to amend as being futile because Booker

   and Blakely do not apply retroactively to cases on collateral review.

          Any party may file within ten (10) days after being served with a copy of this

   Recommendation with the Clerk of the Court written objections identifying the portions of the

   Recommendation to which objections are made, and the basis for such objections. A copy of such

   objections should also be submitted to the Honorable W. Craig Broadwater, United States District

   Judge. Failure to timely file objections to the Recommendation set forth above will result in waiver

   of the right to appeal from a judgment of this Court based upon such Recommendation. 28 U.S.C.

    § 636(b)(1); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984), cert. denied, 467 U.S. 1208

   (1984); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); Thomas v. Arn, 474 U.S. 140 (1985).

          The Clerk of Court is directed to mail a copy of this Recommendation to the pro se petitioner


                                                   16
Case 3:02-cr-00035-GMG-DJJ Document 585 Filed 06/03/05 Page 17 of 17 PageID #: 2067




   and the United States Attorney for the Northern District of West Virginia.

   Dated: June 3, 2005

                                                       James E. Seibert
                                                       JAMES E. SEIBERT
                                                       UNITED STATES MAGISTRATE JUDGE




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